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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY EMPLOYEES
 UNION, et al.,

 Plaintiffs,

 v.                                             Civil Action No. 25-0381 (ABJ)

 RUSSELL VOUGHT, in his official
 capacity as Acting Director of the
 Consumer Financial Protection Bureau,
 et al.,

 Defendants.

      JOINT MOTION FOR THE ENTRY OF A STIPULATED FEDERAL RULE OF
                         EVIDENCE 502(d) ORDER
        The parties have stipulated to a proposed Federal Rule of Evidence 502(d) Order. During

the course of discovery, the parties may seek documents or other information that may be

privileged or protected from disclosure. To guard against the risk of inadvertent waiver of any

applicable privileges or protections, the parties have conferred and agreed on a procedure to assert

such claims after production pursuant to Federal Rule of Evidence 502(d) and Local Civil Rule

16.3(c)(10). The parties’ agreement is included in their Stipulated Clawback Agreement and

Federal Rule of Evidence 502(d) Order.
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DATED: April 22, 2025              Respectfully submitted,

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